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                                                               December 5, 2019

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   September 19



                               /s/Nicole   DiStasio
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   September 19



                               /s/Nicole   DiStasio
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